                                                                                          YAAKOV SAKS*
                                                                                             JUDAH STEIN 
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September 26, 2018



 Via EM/ECF
 The Honorable Pamela Pepper
 The Honorable Aaron E. Goodstein, USMJ
 United States District Court
 Eastern District of Wisconsin
 United States District Courthouse
 517 E. Wisconsin Ave.
 Milwaukee, WI 53202



       RE:     Kopp v. Pan Am Collections, Incorporated
               Case No. 2:17-cv-00368-PP

Dear Judges Pepper and Goodstein:

        Please accept this Letter in notification that Plaintiff and his Counsel will not be appearing
for the September 27, 2018 mediation before Judge Goodstein as Plaintiff and his counsel, despite
their best good faith efforts, were unable to obtain local counsel to take over the case and appear
for the mediation.

        Plaintiff’s counsel has contacted Mr. McCarthy, attorney for Defendant, and advised that
Plaintiff and his counsel will be unable to appear for the 9:30 mediation tomorrow. Further, in
light of current events, Plaintiff has offered to dismiss his case with prejudice against Defendant
Pan Am. Plaintiff is waiting on Defendant’s response and will file the appropriate document(s)
requesting this relief with the Court as soon as Defendant responds to this offer.


                                                      Respectfully Submitted,

                                                      /s/ Yaakov Saks



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                                                    Yaakov Saks, Esq.
                                                    Attorneys for Plaintiff


                                 CERTIFICATE OF SERVICE

I certify that on this 26th day of September, 2018 a copy of the above letter was filed via CM/ECF.
All counsel of record will be emailed a notice of the filing of this Letter.




                                                 /s/ Yaakov Saks
                                                 Yaakov Saks, Esq.




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